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7                                  UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF WASHINGTON
8                                           AT TACOMA
9
     LAURA VAUGHNS and ALBERT J.                          Case No.
10   VAUGHNS, individually and as Joint
     Guardians to A G, J C, Z L, L S, and B J, their      COMPLAINT FOR DAMAGES
11   minor children; and ZOE MARIE
     TOWNSEND VAUGHNS,
                                                          JURY DEMAND
12
                    Plaintiffs,
13          v.
14   NATIONAL RAILROAD PASSENGER
     CORPORATION d/b/a AMTRAK,
15
                    Defendant.
16

17                                1.     IDENTIFICATION OF PARTIES
18           1.1     Plaintiff, Laura Vaughns, is an adult U.S. citizen, and resident of the State of
19   Washington.
20           1.2     Plaintiff, Albert J. Vaughns, is an adult U.S. citizen, and resident of the State of
21   Washington.
22           1.3     Plaintiff, AG, is a minor child, U.S. citizen, and resident of the State of Washington.
23           1.4     Plaintiff, J C, is a minor child, U.S. citizen, and resident of the State of Washington.
24
                                                                                    LUVERA LAW FIRM
                                                                                       ATTORNEYS AT LAW
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1           1.5     Plaintiff, Z L, is a minor child, U.S. citizen, and resident of the State of Washington.
2           1.6     Plaintiff, L S, is a minor child, U.S. citizen, and resident of the State of Washington.
3           1.7     Plaintiff, B J, is a minor child, U.S. citizen, and resident of the State of Washington.
4           1.8     Plaintiff, Zoe Marie Townsend Vaughns, is an adult U.S. citizen, and resident of
5    the State of Washington.
6           1.9     Laura Vaughns and Albert J. Vaughns, are the parents and guardians of AG, J C, Z
7    L, L S, and B J and the parents of Zoe Marie Townsend Vaughns.
8           1.10    Defendant, NATIONAL RAILROAD PASSENGER CORPORATION a/k/a
9    AMTRAK (AMTRAK), is a corporation organized and existing under the laws of the United States
10   of America with a principal place of business in Washington, D.C. Defendant AMTRAK has an
11   office for the transaction of business, and transacts business in King County, Washington.
12          1.11    There may be unknown entities or “John Does” who may be at fault and when their
13   identification becomes known, these pleadings may be amended accordingly. This may include
14   but is not limited to those entities owning the tracks or cars, as well as those entities involved in
15   the design or construction of the route, or in the operation of rail service, directly or through
16   contractors, such as Central Puget Sound Regional Transit Authority, a/k/a Sound Transit, a
17   Washington municipal corporation, and/or the Washington State Department of Transportation,
18   a/k/a WSDOT.
19                                2.      JURISDICTION AND VENUE
20          2.1     The court has federal question jurisdiction over the claims asserted herein pursuant
21   to 28 U.S.C. § 1331, because, on information and belief, AMTRAK is a congressionally
22   incorporated corporation, over half of whose capital stock is owned by the federal government.
23   Venue is proper in the Western District of Washington pursuant to 28 U.S.C. § 1391 because a
24
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1    substantial part of the events or omissions giving rise to the claim occurred in this district, and
2    AMTRAK is subject to the court’s personal jurisdiction with respect to this claim.
3                                 3.       NATURE OF OCCURRENCE
4             3.1.   On and before December 18, 2017, Defendant AMTRAK was a corporation doing
5    business as a common carrier engaged in the transportation of passengers between various
6    destinations in the State of Washington.
7             3.2    On December 18, 2017, Defendant AMTRAK through its employees and/or agents,
8    operated, managed, maintained, supervised, owned, designed, constructed and/or controlled
9    AMTRAK Train No. 501, which originated in Seattle, Washington and was destined for other
10   stops.
11            3.3    Defendant marketed and sold Plaintiff Laura Vaughns a ticket for the inaugural run
12   of AMTRAK Train No. 501 in Washington. On the morning of December 18, 2017, Plaintiff
13   Laura Vaughns boarded AMTRAK Train No. 501 as a passenger at the King Street Station in
14   Seattle, Washington.
15            3.4    At approximately 7:33 a.m., AMTRAK Train No. 501 traveled on a segment of
16   railroad track about 40 miles south of Seattle, Washington that was operated, managed,
17   maintained, supervised, owned, designed, constructed and/or controlled, or contracted to operate,
18   manage, maintain, supervise, own and/or control by Defendant AMTRAK. AMTRAK Train No.
19   501 was operated by employees and/or agents of Defendant AMTRAK.
20            3.5    A sharp and dangerous curve existed on this segment where the railroad track
21   crossed over I-5 from west to east.
22            3.6    On December 18, 2017, at approximately 7:33 a.m., AMTRAK Train No. 501
23   approached the curve and bridge crossing I-5 at a speed greatly exceeding the authorized, posted,
24
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1    safe and lawful speed limit for this segment of the track.
2           3.7     AMTRAK Train No. 501 derailed through the curve and at the bridge crossing I-5,
3    causing serious injuries to Plaintiff Laura Vaughns and other passengers on board the train.
4           3.8     As a result of derailment, Plaintiff Laura Vaughns was traumatized and taken to the
5    hospital for care and treatment.
6           3.9     At all times relevant to this accident, Defendant AMTRAK equipped AMTRAK
7    Train No. 501 with a Positive Train Control system (hereinafter “PTC”), but knowingly failed to
8    make the system operable.
9           3.10    In 2008, Congress enacted the Rail Safety Improvement Act of 2008 (RSIA), which
10   requires passenger railroads to install a PTC system no later than the end of 2015.
11          3.11    The PTC systems mandated by Congress were designed specifically to increase
12   safety and prevent derailments caused by excessive speeds, among other purposes.
13          3.12    PTC provides real-time information to train crew members about, among other
14   things, the areas in which a train must be slowed or stopped and the speed limits at approaching
15   curves and other reduced-speed locations.
16          3.13    PTC also warns the train crew of the train’s safe braking distance in curved or
17   reduced-speed locations and displays the same on screens inside the locomotive’s cab.
18          3.14    If the engineer does not respond to the ample warnings and on-screen displays, the
19   PTC system will automatically activate the brakes and safely slow or stop the train.
20          3.15    At all times relevant hereto, PTC systems were affordable, available, feasible, and
21   intended to improve safety.
22          3.16    Defendant AMTRAK knowingly and intentionally failed to utilize an operable PTC
23   or similar safety control system on the AMTRAK Train No. 501 and the segment of railroad track
24
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1    where this tragic and preventable derailment occurred.
2           3.17    The failure to have PTC was a factor that caused AMTRAK Train No. 188 to derail
3    in Philadelphia, Pennsylvania, in 2015 and to cause other derailments, collisions and injuries
4    known to defendant.
5           3.18    The NTSB has been recommending train control systems for safety for years. Prior
6    to December 18, 2017, Defendant AMTRAK knew that PTC systems safeguarded their
7    transportation system, prevented derailments, and precluded passenger injuries.
8           3.19    Defendant AMTRAK failed to use available train control systems and other safety
9    technologies that would have prevented the derailment and injuries to their passengers and failed
10   to warn passengers and the public it was marketing, selling, and operating commercial
11   transportation without this long-recommended safety device.
12                                  4.     NATURE OF LIABILITY
13          4.1     Plaintiffs’ injuries, damages, and losses were proximately caused by Defendant
14   AMTRAK’s wrongful conduct under common law, federal and state statutes and regulations, and
15   the Washington Consumer Protection Act, rendering defendant liable and at fault for all injuries
16   and damages.
17          4.2     On December 18, 2017, Defendant AMTRAK, through its agents and/or
18   employees, was a common carrier and owed passenger Laura Vaughns the highest duties of care,
19   as well as duties of ordinary and reasonable care.
20          4.3     Defendant AMTRAK, through its agents and/or employees, was at fault and
21   violated the highest duty of care, including but not limited to one or more of the following ways:
22          a.      Failed to slow its train when it knew or should have known that the speed
                    was too fast for the sharp and dangerous curve;
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1           b.      Operated the train in excess of the authorized, posted, safe, and lawful speed
                    limit;
2
            c.      Failed to install and render operable proper train-control safety and speed
3                   systems;
4           d.      Operated the train without keeping a safe and proper lookout;
5           e.      Failed to comply with Defendant’s own operational and safety plan, rules,
                    standards, and procedures;
6
            f.      Failed to comply with the applicable federal standards of care, including,
7                   but not limited to, the failure to comply with applicable federal statutes or
                    regulations;
8
            g.      Failed to properly train its agents and/or employees in the proper operations
9                   of the train;
10          h.      Failed to properly supervise its agents and/or employees in the proper
                    operation of the train.
11
            4.4     Defendant AMTRAK is also liable for punitive and/or exemplary damages under
12
     choice of law principles for the reckless and/or willful disregard of the rights and safety of the
13
     passengers and the public.
14
            4.5     Defendant AMTRAK failed to provide material information to Laura Vaughns,
15
     thus acting unfairly or deceptively in trade or commerce in violation of the Washington Consumer
16
     Protection Act, RCW 19.86. et seq., including, but not limited to, the failure to inform her that:
17
            a.      Its engineer had insufficient experience and training to safely operate
18                  AMTRAK Train No. 501 on the route originating in Seattle on December
                    18, 2017;
19
            b.      AMTRAK operated the train with an assistant conductor who was neither
20                  certified nor qualified;
21          c.      AMTRAK operated the train without enabling and/or providing a fully
                    operational PTC or other safety devices.
22
                              5.      INJURIES, HARM AND DAMAGES
23
            5.1     As a direct and proximate result of one or more of the above acts and/or omissions
24
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1    of the Defendant AMTRAK, Plaintiff suffered serious physical and emotional injuries, requiring
2    past and future medical care, disability, loss of enjoyment of life, pain, anxiety, distress and
3    emotional trauma, physical impairment and disfigurement, pecuniary and economic losses, and
4    other injuries, harm, and noneconomic damages which are ongoing and the total amount of which
5    will be proven at trial.
6            5.2     Plaintiffs Albert J. Vaughns, A G, J C, Z L, L S, B J, and Zoe Marie Townsend
7    Vaughns have suffered the loss of consortium of their wife and mother Laura Vaughns,
8    respectively.
9            5.3     Plaintiffs have suffered injury and damages, including loss of business or property
10   as a result of Defendant AMTRAK’s violation of the Consumer Protection Act.
11                                       6.      RELIEF CLAIMED
12           6.1     Plaintiffs claim all economic and non-economic damages along with all
13   compensatory, pecuniary, and exemplary damages.
14           6.2     Plaintiffs claim all fees and expenses, including attorney fees, treble damages,
15   prejudgment interest and all other damages recoverable under Washington’s Consumer Protection
16   Act.
17           6.3     Plaintiffs seek injunctive relief to protect the public.
18           6.4     Plaintiffs reserve the right to seek other damages as appropriate.
19           WHEREFORE, Plaintiffs pray for judgment against Defendant, NATIONAL RAILROAD
20   PASSENGER CORPORATION d/b/a AMTRAK, in such amount as will be proven at the time of
21   trial, together with such other and further relief as the jury or court deems appropriate.
22   ///
23   ///
24
                                                                                       LUVERA LAW FIRM
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1        DATED this 11th day of October, 2018.
2                                    LUVERA LAW FIRM
3                                    /s/ Robert N. Gellatly
                                     Robert N. Gellatly, WSBA 15284
4                                    /s/ David M. Beninger
                                     David M. Beninger, WSBA 18432
5                                    /s/ Andrew Hoyal
                                     Andrew Hoyal, WSBA 21349
6                                    6700 Columbia Center
                                     701 Fifth Avenue
7                                    Seattle, WA 98104
                                     Telephone: (206) 467-6090
8                                    robert@luveralawfirm.com
                                     david@luveralawfirm.com
9                                    andy@luveralawfirm.com
10                                   Attorneys for Plaintiffs Vaughns
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1                                             JURY DEMAND
2           Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiffs Vaughns herein request a

3    jury trial by a jury of twelve in the above-referenced matter.

4           DATED this 11th day of October, 2018.

5                                          LUVERA LAW FIRM

6                                          /s/ Robert N. Gellatly
                                           Robert N. Gellatly, WSBA 15284
7                                          /s/ David M. Beninger
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